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Richard L. Rudin, Esq.

Attorney ID No. 237991969

WEINER LESNIAK LLP

629 Parsippany Road

P.O. Box 438

Parsippany, New Jersey 07054-0438

Ph: (973) 403-1100/Fax: (973) 403-0010

Email: rrudin@weinerlesniak.com

Attorneys for Defendant, Township of Howell, N.J.
Our File No. HOWSC-O002L 11189911

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

CONGREGATION KOLLEL, INC., and Civil Case No. 3:16-cv-02457-

 

 

 

ZEBRA HOLDINGS, LLC, FLW-LEG

Plaintiffs, Civil Action
Vv.

APPLICATION FOR EXTENSION OF

TOWNSHIP OF HOWELL, N.J., and TIME TO FILE REPLY BRIEF ON
HOWELL TOWNSHIP ZONING BOARD OF MOTION TO DISMISS
ADJUSTMENT,

Defendants.

 

Defendant, Township of Howell, N.J., respectfully requests
an extension of time within which to file a reply brief on the
pending Motion to Dismiss the Complaint.

(1) The Motion to Dismiss the Complaint was filed on July
6, 2016. The original motion day was August 1, 2016.

(2) With the consent of the defendants’ counsel, the
plaintiffs applied for an extension of time from the Clerk
pursuant to Local Rule 7.1{d)(5). As a result, the moticn day

was adjourned until August 15, 2016.
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(3) Plaintiffs’ filed their 40 page Opposition Brief and
extensive Declaration on August 1, 2016. The defendants’ Reply
Brief is currently due on August 8, 2016.

(4) At the request of the undersigned, the plaintiffs’
attorney, Christopher K. Costa, Esq., has consented to an
extension of time for the filing of the Reply Srief.

(5) An extension is needed because Ronald D. Cucchiaro,
Esq., co-counsel for the defendant, Township of Howell, N.J.,
who worked on the original motion papers with the undersigned
counsel, is on vacation through August 11, 2016. In addition,
the undersigned has been preparing an appellate brief in the
case of Esposito v. Hanover 3201 Realty, LLC, Docket No. A-3238-
15T3, which must be filed and served by August 5, 2016.

{6) Since the next motion day is Seplember 6, 2016, the
plaintiffs’ counsel have asked that, if the Court grants oral
argument, it be scheduled on a day other than September 6, 2016
because of the attorneys’ conflict on that date.

I certify that the foregoing statements are true, and
acknowledge that if any of the foregoing statements are
willfully false, I am subject to punishment.

By: /s/ Richard L. Rudin
Richard L. Rudin, Esq.

Dated: June 1, 2016
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ORDER

 

The request of defendant, Township of Howell, N.J., for an
extension of time to file its Reply Brief on the pending Motion
to Dismiss is hereby granted. The new motion day is September

6, 2016. The defendants’ reply papers must be filed and served

 

on or before Ava. J 27 , 2016.
C/

Fake of aye

Honorable Freda L. Wolfson, U.S.D.J.

 

Dated: August So, 2016
